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                      EXHIBIT A

                    Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                                     Chapter 11
    In re:
                                                                     Case No. 23-11131 (TMH)
    AMYRIS, INC, et al.,
                                                                     (Jointly Administered)
                             Debtors.1
                                                                     Docket Ref No. ____


                 ORDER PURSUANT TO BANKRUPTCY RULE 2004
       AND LOCAL RULE 2004-1 DIRECTING THE PRODUCTION OF DOCUMENTS

             Upon consideration of the motion (the “Motion”) 2 filed by Givaudan SA (together with its

direct and indirect subsidiaries, “Givaudan”) for entry of an order authorizing and directing limited

and targeted document production from the above-captioned debtors and debtors-in-possession

(the “Debtors”), as more fully set forth in the Motion; and this Court having found that it has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and 157, and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that

Givaudan’s notice of the Motion and opportunity for a hearing on the Motion were adequate and

no other or further notice need be given; and this Court having reviewed the Motion and having

heard the statements in support of the relief requested therein at a hearing before this Court (the



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
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“Hearing”); and this Court having determined that it may enter a final order consistent with

Article III of the United States Constitution; and that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and any objections to

the requested relief having been withdrawn, resolved or overruled on the merits; and after due

deliberation and sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

                 1.    The Motion is granted as set forth herein.

                 2.    The Debtors are directed to produce the 2021 DSM Transaction Documents

to Givaudan by no later than October 20, 2023.

                 3.    Givaudan’s rights are reserved to request additional discovery and/or

examinations, including, without limitation, requests based on any information that may be

revealed as a result of the discovery authorized pursuant to this order.

                 4.    This order is without prejudice to the right of the Givaudan to seek further

discovery pursuant to Bankruptcy Rule 2004 or otherwise of any other person or entity.

                 5.    Givaudan is authorized to take all actions necessary to effectuate the relief

granted pursuant to this order.

                 6.    The terms and conditions of this order shall be effective and enforceable

immediately upon its entry.

                 7.    This Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this order and to interpret, implement and enforce the provisions

of this Order.




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